
The last Will of William Cordle the elder, of Brunswick County, dated May 16th 1804, and admitted to probate April 24th 1809, (among other clauses,) contained the following: “Item, my will and desire is, that all the remainder of my estate not heretofore willed away, be kept together on the plantation whereon I now live, until my son William Cordle arrives to twenty-one years of age; and then my desire is that an equal division of all my personal property be made between my sons William Cordle and Daniel Cordle; and if either of my sons William Cordle or Daniel Cordle dies without lawful heir, my desire is’that the surviving brother shall inherit all the estate of the deceased.” — Agreeably to the direction of the Will, an equal division of the personal estate was made, and sundry slaves were allotted to William Cordle the younger, as his proportion of the slaves in that division. He died in the year 1815, of full age, and without having any issue. Daniel Cordle survived *him, and died in 1816. Charles Cordle executor of Daniel, thereupon brought Det-inue in the Superior Court in the County, for the said slaves, against Richard Hall administrator with the Will annexed of William Cordle the younger. The parties agreed a case presenting these facts, and a verdict was found subject to the Court’s Opinion thereupon.
*807The Superior Court gave judgment for the plaintiff; and that judgment was affirmed by this Court.
